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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

LARRY R. MARSHALL,
PLAINTIFF
V.
DEBORAH CLARK,
SUPERVISOR OF ELECTIONS,
PINELLAS COUNTY. FLORIDA
And
KEN DETZNER,
SECRETARY OF STATE,
STATE OF FLORIDA

DEFENDANTS

TAMPA DIVISION

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Case No.8:18-CV-1510-T-36 AAS

NOTICE OF DISMISSAL

Comes Now, Larry R. Marshail, Plaintiff herein, and pursuant to Rule 41(a) (1) (A), Fed.

R.C. P. dismisses, without prejudice, his Complain

Clark and Ken Detzner.

N'

led herein against Defendants Deborah

AND First Ags etic Compute)

Respectfully submitted,

arry R,

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rshall, pro se

Attorney at Law

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CERTIFICATE OF SERVICE

|, Larry R. Marshall, do hereby certify that a copy of the above captioned Notice Of
Dismissal was duly served on Defendants, and each of them, this 3rd day of August, 2018, by
placing a copy of same in the United States mail, postage prepaid, and addressed to:

Kelly Vicari Kim Wilson

Attorney at Law Assistant Attorney General
6" Floor 501 East Kennedy Blvd.
315 Court Street Suite 1100

Clearwater, FL 33756 Tampa. FL 33602

Attorney for Defendant Attorney for Defendant
Deborah Clark Ken Detzner

(Arry R. Marshall
